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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                )
 UNITED STATES OF AMERICA,                      )
                                                )        Criminal No. 1:21-cr-00537-JMC
                      v.                        )
                                                )
 RYAN SAMSEL,                                   )
                                                )
                 Defendant.                     )
                                                )

                   RENEWED MOTION FOR TEMPORARY RELEASE

       COMES NOW, Defendant Ryan Samsel, by and through undersigned counsel, and

pursuant to 18 U.S.C. §3142(i), and respectfully renews his request that this Court order his

temporary release, for the purpose of a medical procedure, specifically surgery on his chest.

Prior to his pre-trial detention, Mr. Samsel had been seen by medical professionals regarding the

abnormality in his chest, and thus moves for temporary release in order to be operated on by

these same medical professionals, specifically with a Dr. Jared Liebman.

       On April 1, 2022, Mr. Samsel first filed a motion requesting temporary release. Mot.

(April 1, 2022) (ECF No. 142). Rather than order his temporary release, on May 17, 2022, this

Court ordered Mr. Samsel to “receive an independent medical evaluation at a tertiary research

center” and that he be “transported to an appropriate Bureau of Prisons facility for the purpose of

receiving the independent medical evaluation.” Order at 1, 2 (May 17, 2022) (ECF No. 159).

Following this order, on or about June 1, 2022, Mr. Samsel was transferred to FDC Philadelphia

where he has been placed in solitary confinement and/or the Special Housing Unit (“SHU”), has

been repeatedly denied regular access to legal counsel, and has faced repeated issues with being

allowed to attend court hearings by video. See Defendant’s Status Report (July 6, 2022) (ECF

No. 180). In addition to the difficulties Mr. Samsel has faced while housed at FDC Philadelphia,
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he ultimately did receive an evaluation which resulted in his referral to a breast cancer specialist.

Id. Now, after further medical evaluation, Mr. Samsel has received the recommendation that he

undergo a surgical procedure to his chest. This recommendation not only does not have the

benefit of a vascular consultation, but the defense has also not been provided information

showing that Mr. Samsel’s documented medical history has been provided to this doctor. (See

Exhibit A, filed under seal).

       Now that Mr. Samsel has received the independent medical evaluation so ordered by the

Court, Mr. Samsel respectfully requests the Court order Mr. Samsel’s temporary release so that

he may undergo this procedure by his own doctors, with whom he had received treatment prior

to his detention in this case. Pursuant to 18 U.S.C. §3142(i), a court may “permit the temporary

release of [a defendant], in the custody of a United States marshal or another appropriate person,

to the extent that . . . such release [is] necessary for preparation of the person’s defense or for

another compelling reason.” Mr. Samsel argues that his temporary release is necessary for the

compelling reason of his undergoing surgery on his chest. Mr. Samsel also argues that his

temporary release is necessary for the preparation of his defense. Of note, following the court’s

request for Mr. Samsel’s transfer back to USP Lewisburg based on the difficulties Mr. Samsel is

facing at FDC Philadelphia with access to counsel and access to video hearings, see Order at 2

(July 28, 2022) (ECF No. 187), Mr. Samsel has nevertheless remained at FDC Philadelphia and

as such his access to counsel as well as his ability to prepare his defense in this action remain

extremely hindered.

       By way of just one example, as the Court is aware Mr. Samsel has been held in solitary

confinement and/or in the SHU at FDC Philadelphia since his transfer there roughly ninety-three

(93) days ago. Following his administrative quarantine because of the COVID-19 pandemic, he
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nevertheless remained in solitary confinement based on a purported incident report that had been

referred to the U.S. Attorney’s Office for the Eastern District of Pennsylvania. However, after

contacting the Chief of the Criminal Division for the EDPA USAO, defense counsel was

informed no such referral had been made to that office and we were directed to contact

government counsel in this case, Ms. Karen Rochlin. Ms. Rochlin, however, similarly advised

defense counsel that she had no “role” in any referral. When defense counsel advised FDC

Philadelphia’s counsel of the same, defense counsel was referred to the facility’s Public

Information Officer. Although defense counsel contacted the same, we have yet to receive any

response.

       Ultimately, given Mr. Samsel’s history in this case as far as his difficulty with obtaining

medical treatment, and the lack of complete records to any providers, through the USMS and

BOP, he is understandably reluctant to trust the doctors chosen by the USMS and/or the BOP to

perform surgery on his chest especially without a complete medical history; and resolve the

medical issues that he has been facing since day one of his pre-trial detainment. Further, the

chance of any normal rehabilitation post procedure, would be unreasonable in a facility that

keeps him in a small cell, 24/7, where he eats, sleeps and even showers in the same cell, so that

he never leaves it. For these reasons, Mr. Samsel’s temporary release is “necessary” and should

be so ordered.

                                [SIGNATURE ON NEXT PAGE]
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Dated: September 2, 2022         Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       On September 2, 2022, the undersigned hereby certifies that a true and correct copy of

the foregoing was electronically filed and served via the CM/ECF system, which will

automatically send electronic notification of such filing to all registered parties.

                                                      /s/ Stanley E. Woodward, Jr.
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